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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LESTER EINHAUS,                                          )
                                                         )       Case. 2017 CV 4478
                Plaintiff,                               )
                                                         )
-v-                                                      )
                                                         )       Hon. Sara L. Ellis
TEXTMUNICATION HOLDINGS, INC.                            )
                                                         )
                Defendant.                               )

                 MOTION TO DISMISS COUNT III OF COUNTERCLAIM

        NOW COMES the Plaintiff, Lester Einhaus, by and through his attorneys, The Tracy Firm,

Ltd., and moves this Honorable Court to dismiss Count III of Defendant’s Counterclaim. In support

of its Motion, Plaintiff states:

        1.      A    motion        under   Rule   12(b)(6)   challenges    the    sufficiency    of   the

complaint. Christensen v. Cnty. of Boone, 483 F.3d 454, 458 (7th Cir. 2007). To survive dismissal

pursuant to Fed. R. Civ. P. 12(b)(6), a complaint must allege facts sufficient to state a claim to

relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007). Allegations in the form of legal conclusions are insufficient

to survive a Rule 12(b)(6) motion, and allegations supported by “mere conclusory statements, do

not suffice.” McReynolds v. Merrill Lynch & Co., Inc., 694 F.3d 873, 885 (7th Cir. 2012)(citing

Iqbal, 556 U.S. at 678). “[A] plaintiff has the obligation to provide factual grounds of his

entitlement to relief (more than mere labels and conclusions), and a formulaic recitation of the

elements of a cause of action will not do.” Bissessur v. Ind. Univ. Bd. Of Trs., 581 F.3d 599, 602

(7th Cir. 2009)(internal quotation marks omitted). A plaintiff’s complaint must “actually suggest

that that plaintiff has a right to relief, by providing allegations that raise a right to relief above the



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speculative level.” Indep. Trust. Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 935 (7th Cir.

2012).

         2.    Defendant seeks a preliminary and a permanent injunction that prohibits Einhaus

from making any new false, defamatory or otherwise harassing statements online about

Textmunication or its officers, including Asefi and Thielen. Counterclaim at ¶38. Defendant

further seeks an order compelling Einhaus to remove the allegedly defamatory statements. Id.

Defendant contends that the alleged defamatory statements are causing continuing damage to it.

Id at ¶39.

         3.    Injunctive relief is a remedy, not a separate claim. CustomGuide v. CareerBuilder,

LLC, 813 F. Supp. 2d 990, 1002 (N.D. Ill. 2011) (dismissing with prejudice a claim for injunction,

noting that an injunction “is an equitable remedy, not a separate cause of action”); Town of Cicero

v. Metro. Water Reclamation Dist. of Greater Chi., 976 N.E.2d 400, 414–15 (Ill. App. Ct. 2012)

(upholding dismissal of injunctive relief claim because “injunction . . . is not a separate cause of

action”). An injunction "is an equitable remedy, not a separate cause of action." Walker v. Bankers

Life & Cas. Co., No. 06 C 6906, 2007 WL 967888, at *4 (N.D.Ill. Mar. 28, 2007) (Conlon, J.).

         4.    Notably, Count III is styled as a separate cause of action, not a prayer for relief.

Thus, Count III is simply an improper request for an injunction and must be dismissed. Injunctive

relief remains available to Defendant later in the litigation should it prevail on its remaining

substantive claims. CareerBuilder, LLC, 813 F. Supp. 2d at 1002.

         WHEREFORE, Plaintiff moves this Honorable Court to Dismiss Count III of Defendant’s

Counterclaim and for such other relief it deems just and appropriate.




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Dated: June 6, 2018                           Respectfully submitted,

                                              LESTER EINHAUS



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                                              By His Attorney




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